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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No. 1:23-cr-321 (JEB)
               v.                             :
                                              :
JAMES RAY EPPS, SR.,                          :
                                              :
                       Defendant.             :


                    MOTION TO APPEAR IN PERSON FOR SENTENCING

       Sentencing in this matter is scheduled for December 20, 2023. Per the defendant’s request,

the Court has permitted the parties to appear via Zoom.

       As the Court has experienced in this and other cases, however, undersigned counsel for the

government’s Zoom connection is unreliable. Despite multiple efforts to fix the issue, it remains a

problem. Accordingly, in the interests of accomplishing a smooth sentencing proceeding and

ensuring that the Court has the benefit of hearing the government’s full argument, the United States

respectfully requests that the Court allow government counsel to appear in person.

       The government has no objection to the defendant (and his counsel) appearing by Zoom.

       Defense counsel communicated that he does not object to this motion.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar Number 481052

                                                     /s/ Michael M. Gordon
                                                     MICHAEL M. GORDON
                                                     Senior Trial Counsel, Capitol Siege Section
                                                     Assistant United States Attorney
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                           UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                    :
                                            :       Case No. 1:23-cr-321 (JEB)
               v.                           :
                                            :
JAMES RAY EPPS, SR.,                        :
                                            :
                       Defendant.           :

                                            ORDER

        Upon consideration of the United States’ motion seeking to appear in person for

sentencing, it is hereby

        ORDERED, that the motion is GRANTED.




Date:                                       _____________________________________
                                            THE HONORABLE JAMES E. BOASBERG
                                            UNITED STATES DISTRICT JUDGE
